                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

UNITED STATES OF AMERICA                        )      CRIMINAL NO. 3:22-cr-00077
                                                )
             v.                                 )
                                                )
CHARLES CARLISLE PLUMLEY,                       )
    a/k/a “Penguin”                             )


                           Motion for Reciprocal Discovery
                            On Behalf of the United States

      The United States, by and through its undersigned Assistant United States

Attorney, respectfully moves that this Honorable Court direct the defendant to make

available for inspection and copying each of the following:

      A. Pursuant to FED. R. CRIM. P. 26.2 and United States v. Nobles, 422 U.S. 225

(1975):

             All prior statements in the possession of the defendant, if any, given
      by witnesses whom the defendant expects to call at trial, other than the
      defendant himself. The term "statements" is to be construed by the
      defendant the same as defined in Fed. R. Crim. P. 26.2 (effective December
      1, 1980) and the Jencks Act, 18, U.S.C. §3500. 1

      B. Pursuant to FED. R. CRIM. P. 16(b)(1)(A):

             All books, papers, documents, photographs, tangible objects, or
      copies or portions thereof, which are within the possession, custody, or
      control of the defendant and which the defendant intends to introduce as
      evidence in chief at trial.




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 Although the authority cited herein does not require the production of statements until
after the witness has testified, the Government respectfully requests early disclosure,
commensurate with the Government’s practice of early disclosure of statements,
memoranda of interviews and other discovery.
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C. Pursuant to FED. R. CRIM. P. 16(b)(1)(B):

              Any results or reports of physical or mental examinations and of
      scientific tests or experiments made in connection with this particular case,
      or copies thereof, as well as the names and/or opinions of any such experts
      conducting tests or experiments or examinations, within the possession or
      control of the defendant, which the defendant intends to introduce as
      evidence in chief at the trial or which were prepared by a witness whom the
      defendant intends to call at the trial when the results or reports relate to their
      testimony.

      D. Pursuant to FED. R. CRIM. P. 16(b)(1)(C):

            A written summary of testimony the defendant intends to use under
      FED. R. EVID. 702, 703 and 705 as evidence at trial. The government
      requests that this summary describe the opinions of the witness(es), the
      basis and reasons of such opinion(s) and the qualifications of the
      witness(es).


                                           Respectfully submitted,

                                           COREY F. ELLIS
                                           UNITED STATES ATTORNEY


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February 17, 2022




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UNITED STATES OF AMERICA                        )      CRIMINAL NO. 3:22-cr-00077
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                           Certification Pursuant to Local
                           Rule 12.02 by the United States

      Pursuant to Rule 12.02, Local Rules for the District of South Carolina, the United

States certifies that, because of the nature of the attached motion (Motion for Reciprocal

Discovery) consultation with counsel for the defendant would serve no useful purpose.


                                         Respectfully submitted,

                                         CORY F. ELLIS
                                         UNITED STATES ATTORNEY


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